Def−005 [Notice to File Certification] (Rev. 12/15)

                         UNITED STATES BANKRUPTCY COURT
                  NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


In re:                                                                              Case No. 19−81040−CRJ7
Taylor Ramirez                                                                      Chapter 7
SSN: xxx−xx−3776
Ashley Ramirez
SSN: xxx−xx−3415
        Debtor(s)



                        NOTICE OF REQUIREMENT TO FILE A
              CERTIFICATION ABOUT A FINANCIAL MANAGEMENT COURSE
                                (Official Form 423)
     Notice is hereby given that, subject to limited exceptions, a Debtor must complete an instructional course in
personal financial management in order to receive a discharge under chapter 7 (11 U.S.C. § 727) or chapter 13 (11
U.S.C. § 1328). Generally, financial course providers will file a certificate with the Court to indicate that the Debtor
has completed the course.

      If the course provider fails to file the certificate, a Debtor must complete and file Certification About a Financial
Management Course (Official Form 423) pursuant to Federal Rule of Bankruptcy Procedure 1007(b)(7). If Rule
1007(b)(7) requires a Debtor to file Official Form 423 and a Debtor fails to do so, the Court will not enter a discharge
and will close the case. If a Debtor subsequently files a Motion to Reopen the Case to allow for the filing of the
Official Form 423, the full reopening fee must be paid for filing the motion, and the fee cannot be waived. Depending
on the circumstances, the Court may order the Debtor's attorney to pay the reopening fee instead of the Debtor.

Dated: April 5, 2019                                         By:

                                                             Joseph E. Bulgarella, Clerk
                                                             United States Bankruptcy Court




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                                          File Stmt of Completion Page 1 of 1
